Case 8:20-cv-00043-JVS-ADS Document 89 Filed 05/14/20 Page 1 of 5 Page ID #:668




 1   COLIN REARDON (NY Bar #4945655)
     E-mail: colin.reardon@cfpb.gov
 2   Phone: (202) 435-9668
     E. VANESSA ASSAE-BILLE (NY Bar #5165501)
 3   E-mail: elisabeth.assae-bille@cfpb.gov
     Phone: (202) 435-7688
 4   1700 G Street, NW
     Washington, D.C. 20552
 5   Fax: (202) 435-5471
 6   LEANNE E. HARTMANN (CA Bar #264787) – Local Counsel
     E-mail: leanne.hartmann@cfpb.gov
 7   Phone: (415) 844-9787
     301 Howard St., Suite 1200
 8   San Francisco, CA 94105
     Fax: (415) 844-9788
 9
     Attorneys for Plaintiff Bureau of Consumer Financial Protection
10
     SEAN P. BURKE (IN Bar #26995-49)
11   Email: Sean.Burke@mbclaw.com
     Phone: (317) 614-7320
12   Mattingly Burke Cohen & Biederman LLP
     155 East Market Street, Suite 400
13   Indianapolis, IN 46204
     Fax: (1-866-305-5248)
14
     Attorney for Defendant Chou Team Realty, LLC, Defendant and Relief
15   Defendant Thomas Chou, Defendant and Relief Defendant Sean Cowell, Relief
     Defendant TDK Enterprises, LLC, and Relief Defendant Cre8labs, Inc.
16
17                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
18
19   Bureau of Consumer Financial Protection, )
                                              )             Case No.: 8-20-cv-00043-JVS-ADS
20                    Plaintiff,              )
                                              )             JOINT STIPULATION FOR ENTRY OF
21        vs.                                 )             [PROPOSED] STIPULATED FINAL
                                              )             JUDGMENT AND ORDER AS TO
22   Chou Team Realty, LLC, et al.,           )             CHOU TEAM REALTY, LLC; THOMAS
                                              )             CHOU; SEAN COWELL; CRE8LABS,
23                    Defendants.             )             INC.; AND TDK ENTERPRISES, LLC
                                              )
24                                            )
25
26          Plaintiff Bureau of Consumer Financial Protection, and Defendant Chou
27   Team Realty, LLC f/k/a Chou Team Realty, Inc., d/b/a Monster Loans, d/b/a
28
       JOINT STIPULATION FOR ENTRY OF [PROPOSED] STIPULATED FINAL JUDGMENT AND ORDER AS TO CHOU TEAM
                REALTY, LLC; THOMAS CHOU; SEAN COWELL; CRE8LABS, INC.; AND TDK ENTERPRISES, LLC
                                                    1
Case 8:20-cv-00043-JVS-ADS Document 89 Filed 05/14/20 Page 2 of 5 Page ID #:669




 1   MonsterLoans; Defendants and Relief Defendants Thomas Chou and Sean
 2   Cowell; and Relief Defendants Cre8Labs, Inc. and TDK Enterprises, LLC,
 3   through their counsel, respectfully request that the Court enter the attached
 4   [Proposed] Stipulated Final Judgment and Order as to Chou Team Realty, LLC,
 5   Thomas Chou, Sean Cowell, Cre8labs, Inc., and TDK Enterprises, LLC.
 6          All signatories listed below, and on whose behalf this filing is submitted,
 7   concur in the filing’s content and have authorized the filing.
 8
 9   IT IS SO STIPULATED.
10    For Bureau of Consumer Financial Protection:
11   Dated May 14, 2020                            Respectfully Submitted,
12                                                 Thomas G. Ward
                                                   Enforcement Director
13
                                                   Deborah Morris
14                                                 Deputy Enforcement Director
15                                                 Michael G. Salemi
                                                   Assistant Litigation Deputy
16
                                                   /s/ Colin Reardon
17                                                 Leanne E. Hartmann
                                                   Colin Reardon (pro hac vice)
18                                                 E. Vanessa Assae-Bille (pro hac vice)
                                                   Bureau of Consumer Financial Protection
19                                                 1700 G Street, NW
                                                   Washington, D.C. 20552
20
                                                   Attorneys for Plaintiff Bureau of
21                                                 Consumer Financial Protection
22
23
24
25
26
27
28
       JOINT STIPULATION FOR ENTRY OF [PROPOSED] STIPULATED FINAL JUDGMENT AND ORDER AS TO CHOU TEAM
                REALTY, LLC; THOMAS CHOU; SEAN COWELL; CRE8LABS, INC.; AND TDK ENTERPRISES, LLC
                                                    2
Case 8:20-cv-00043-JVS-ADS Document 89 Filed 05/14/20 Page 3 of 5 Page ID #:670




 1    For Defendant Chou Team Realty, LLC, Defendant and Relief Defendant
     Thomas Chou, Defendant and Relief Defendant Sean Cowell, Relief
 2   Defendant TDK Enterprises, LLC, and Relief Defendant Cre8labs, Inc.:
 3   Dated May 14, 2020                           /s/ Sean P. Burke
                                                  Sean P. Burke
 4                                                Mattingly Burke Cohen & Biederman LLP
                                                  155 East Market Street, Suite 400
 5                                                Indianapolis, IN 46204
                                                  (317) 614-7320
 6                                                Sean.Burke@mbclaw.com
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
      JOINT STIPULATION FOR ENTRY OF [PROPOSED] STIPULATED FINAL JUDGMENT AND ORDER AS TO CHOU TEAM
               REALTY, LLC; THOMAS CHOU; SEAN COWELL; CRE8LABS, INC.; AND TDK ENTERPRISES, LLC
                                                   3
Case 8:20-cv-00043-JVS-ADS Document 89 Filed 05/14/20 Page 4 of 5 Page ID #:671




 1                                 CERTIFICATE OF SERVICE
 2            I, Colin Reardon, certify pursuant to Local Rule 5-3.2.1 that on this day,
 3   May 8, 2020, I caused to be served by e-mail1 this joint stipulation and the
 4   [Proposed] Stipulated Final Judgment and Order on each of the following
 5   parties:
 6            1.      Thomas Chou
                        c/o Sean P. Burke, counsel for Thomas Chou
 7                    Mattingly Burke Cohen & Biederman LLP
                      155 East Market Street, Suite 400
 8                    Indianapolis, IN 46204
                      E-mail address: Sean.Burke@mbcblaw.com
 9
              2.      Chou Team Realty, LLC
10                     c/o Sean P. Burke, counsel for Chou Team Realty, LLC
                      Mattingly Burke Cohen & Biederman LLP
11                    155 East Market Street, Suite 400
                      Indianapolis, IN 46204
12                    E-mail address: Sean.Burke@mbcblaw.com
13            3.      Sean Cowell
                        c/o Sean P. Burke, counsel for Sean Cowell
14                    Mattingly Burke Cohen & Biederman LLP
                      155 East Market Street, Suite 400
15                    Indianapolis, IN 46204
                      E-mail address: Sean.Burke@mbcblaw.com
16
              4.      Cre8Labs, Inc.
17                      c/o Sean P. Burke, counsel for Cre8labs, Inc.
                      Mattingly Burke Cohen & Biederman LLP
18                    155 East Market Street, Suite 400
                      Indianapolis, IN 46204
19                    E-mail address: Sean.Burke@mbcblaw.com
20            5.      TDK Enterprises, LLC
                        c/o Sean P. Burke, counsel for TDK Enterprises, LLC
21                    Mattingly Burke Cohen & Biederman LLP
                      155 East Market Street, Suite 400
22                    Indianapolis, IN 46204
                      E-mail address: Sean.Burke@mbcblaw.com
23
24
25
26
27
     1
      Each of the listed parties have consented in writing to accept service of filings
     in this matter via e-mail. See Fed. R. Civ. P. 5(b)(2)(F).
28
         JOINT STIPULATION FOR ENTRY OF [PROPOSED] STIPULATED FINAL JUDGMENT AND ORDER AS TO CHOU TEAM
                  REALTY, LLC; THOMAS CHOU; SEAN COWELL; CRE8LABS, INC.; AND TDK ENTERPRISES, LLC
                                                      4
Case 8:20-cv-00043-JVS-ADS Document 89 Filed 05/14/20 Page 5 of 5 Page ID #:672




 1         6.      Robert Hoose
                     c/o Joshua M. Robbins, counsel for Robert Hoose
 2                 Greenberg Gross LLP
                   650 Town Center Drive, Suite 1700
 3                 Costa Mesa, CA 92626
                   E-mail address: JRobbins@GGTrialLaw.com
 4
           7.      Assure Direct Services, LP
 5                   c/o David Holt, counsel for Assure Direct Services, LP’s agent
                   for service of process David Sklar
 6                 The Holt Law Firm
                   1432 Edinger Avenue, Ste. 130
 7                 Tustin, CA 92780
                   E-mail address: dholt@holtlawoc.com
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
      JOINT STIPULATION FOR ENTRY OF [PROPOSED] STIPULATED FINAL JUDGMENT AND ORDER AS TO CHOU TEAM
               REALTY, LLC; THOMAS CHOU; SEAN COWELL; CRE8LABS, INC.; AND TDK ENTERPRISES, LLC
                                                   5
